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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 United States of America,

                     Plaintiff,              Case No. 18-20495
        v.
                                             Hon. David M. Lawson
 Ibraheem Izzy Musaibli,

                     Defendant.
                                  /

                Defendant’s Motion to Suppress Statements
                   Made During Custodial Interrogation

        Defendant, Ibraheem Izzy Musaibli, through his attorneys, moves this

 Court to enter an order excluding from evidence the Defendant’s custodial

 statements made on or about July 23, 2018, and July 24, 2018, because they

 were taken in violation of the Defendant’s Fifth Amendment right against

 compelled testimony. Defendant files a supporting brief and states that:

   1.        Mr. Musaibli is charged by superseding indictment with: Providing

             and Attempting to Provide Material Support to a Designated

             Foreign Terrorist Organization, in violation of 18 U.S.C. § 2339B;

             Conspiracy to Provide Material Support to a Foreign Terrorist

             Organization, in violation of 18 U.S.C. § 2339B; and Receipt of




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         Military Type Training from a Foreign Terrorist Organization

         (ISIS), in violation of 18 U.S.C. § 2339D(a).

   2.    The Government disclosed Mr. Musaibli’s custodial statements

         made in flight from Kuwait to the United States on July 23, 2018,

         and July 24, 2018, as well as statements made immediately upon

         landing in Gary, Indiana, on July 24, 2018.

   3.    On or about June 9, 2018, Mr. Musaibli turned himself into the

         Syrian Democratic Forces (SDF), a majority Kurdish militia force

         backed by the United States.

   4.    During his approximately six weeks in SDF custody, Mr. Musaibli

         was housed in an overcrowded prison and subject to violence by

         inmates and guards.

   5.    While in SDF custody, Mr. Musaibli was interrogated.

   6.    During these interrogations, Mr. Musaibli was threatened with

         physical violence, struck repeatedly, and spit upon.

   7.    After approximately six weeks, Mr. Musaibli was transferred

         directly from the custody of the Syrian Democratic Forces (SDF) to

         the Federal Bureau of Investigation (FBI).

   8.    The FBI took custody of Mr. Musaibli at 10:10 p.m. local time.




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   9.    When Mr. Musaibli was transferred to FBI custody, he was

         handcuffed, blindfolded, and then had additional sensory

         deprivation gear placed on him.

   10.   The FBI did not remove this gear for any appreciable period of time

         until he was interrogated during the flight to the United States, at

         the equivalent of 6:00 a.m. Syrian time

   11.   Between being taken into FBI custody and the interrogation, Mr.

         Musaibli briefly fell asleep twice, once for twenty minutes and once

         for just under an hour. He was still under restraints and with

         sensory deprivation gear during that time.

   12.   He had not eaten since late afternoon on the day his custody was

         transferred, and was not offered food again until after the

         interrogation had been ongoing for an hour.

   13.   The net effect of his extended time in SDF custody, previous

         custodial interrogations, and the sensory, food, and sleep

         deprivation was the creation of a coercive environment that caused

         Mr. Musaibli’s pre-interrogation waiver of his Miranda rights to be

         involuntary, and additionally rendered Mr. Musaibli’s statements

         involuntary




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   14.        On July 24, 2018, some hours after the inflight questioning, Mr.

              Musaibli was questioned when he arrived in Gary, Indiana, in the

              interim before being driven to Detroit for his initial appearance

              before this Court.

   15.        This questioning was a direct follow up to the questioning during

              the flight and was not sufficiently attenuated to cure the invalid

              Miranda waiver or the coercive environment attending the in-flight

              questioning so as to make the subsequent statements voluntary for

              Fifth Amendment purposes.

   16.        Mr. Musaibli’s waiver of his presentment rights before the

              interrogation in Gary, Indiana likewise was not knowing and

              voluntary due to the circumstances surrounding that waiver.

   17.        Per Local Rule 7.1(a), defense counsel communicated with the

              Government regarding this Motion and it does not concur with the

              requested relief.

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      For the reasons indicated above, Defendant requests that this Court

 hold an evidentiary hearing, make findings of fact, and enter an Order

 excluding from evidence Defendant’s custodial statements as the product of

 an invalid Miranda waiver and as constitutionally involuntary, and in

 addition in violation Federal Rule of Criminal Procedure 5(a).

                                          Submitted,


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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 United States of America,

                   Plaintiff,               Case No. 18-20495
       v.
                                            Hon. David M. Lawson
 Ibraheem Izzy Musaibli,

                   Defendant.
                                /

  Brief in Support of Defendant’s Motion to Suppress Statements
               Made During Custodial Interrogation

       Ibraheem Musaibli was charged on April 9, 2019, in a four-count

 superseding indictment with Providing and Attempting to Provide Material

 Support to a Designated Foreign Terrorist Organization, in violation of 18

 U.S.C. § 2339B; Conspiracy to Provide Material Support to a Foreign

 Terrorist Organization, in violation of 18 U.S.C. § 2339B; Possessing and

 Discharging a Firearm (Machine Gun) in Furtherance of a Crime of Violence,

 in violation of 18 U.S.C. § 924(c); and Receipt of Military Type Training from

 a Foreign Terrorist Organization (ISIS), in violation of 18 U.S.C. §2 339D(a).

 On July 29, 2019, Count 3, the § 924(c) charge, was dismissed. The other

 three counts remain pending and trial is set for the fall of 2021.




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       As part of discovery, the Government disclosed two custodial

 statements made by Defendant Ibraheem Musaibli to Federal Bureau of

 Investigation Special Agent Wendy Kerner, one made during his flight to the

 United States on July 23-24, 2018, and a second statement in Gary, Indiana

 on July 24, 2018. The FBI received custody of Mr. Musaibli from the Syrian

 Democratic Forces (SDF), a Kurdish majority U.S.-backed militia group, at

 approximately 10:20 p.m. local (Syrian) time on the day he was interrogated.

       While in SDF custody for about six weeks, Mr. Musaibli was

 interrogated by SDF officers, and those interrogations included threats,

 physical assaults, and being spit on. He was subjected to sensory deprivation

 by the SDF during his period of custody there too.

       During his transfer from SDF forces to FBI custody, and then for a time

 during the military flight to the United States, Mr. Musaibli wore sensory

 deprivation gear until his interrogation started. By that time, Mr. Musaibli

 had slept less than two hours in the previous twentyfour-hour period, had

 not eaten since late afternoon the previous day, and did not eat until after the

 first part of his interrogation started. The net effect of the abuse by the SDF,

 and sensory, sleep, and food deprivation (to which the FBI contributed) was

 the creation of a coercive environment that made it impossible for him to




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 knowingly and intelligently waive his Fifth Amendment right against self-

 incrimination, or to provide a voluntary statement.

                                     Facts

       After approximately two and one-half years of living in Syria and Iraq,

 spending much of his time imprisoned or living on the streets and sleeping

 in mosques, Ibraheem Musaibli was desperate to escape ISIS territory. Mr.

 Musaibli turned himself over to advancing SDF forces. He did so at the

 urging of Federal Bureau of Investigation Special Agent Wendy Kerner.

       Once in SDF custody, Mr. Musaibli was taken to Hasakah Prison.

 Hasakah Prison had been used by the Assad regime, ISIS, and now the SDF.

 Hasakah Prison was over crowded, perhaps six inmates slept in a 10’ x 10’

 cell, often without mattresses. The heat was oppressive and inmates could

 not sleep. There was often a shortage of edible food and drinkable water.

 Violence was common among prisoners and guards did little to interfere.

 Mr. Musaibli was known among ISIS members as being critical of ISIS

 leadership and for defending other rebel groups, and so he was a frequent

 target of radical inmates.

       Mr. Musaibli was interrogated several times while in Hasakah Prison.

 During these interrogation, SDF officers remove Mr. Musaibli from the full

 cell, cover his head so he could not see, and transport him to an interrogation


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 room. Mr. Musaibli would then face an interrogator with a guard standing

 behind him. The interrogations typically began with threats to transfer Mr.

 Musaibli to the custody of the Iraqi army. At this time the Iraqi army was

 rumored to be killing prisoners suspected of having current or former ties

 with ISIS. The most common statement by his interrogators was a guarantee

 that he would be sexually assaulted while in Shia hands. When threats failed

 to produce information the SDF thought Mr. Musaibli had, Mr. Musaibli

 would be struck from behind by the guard or spit on by the interrogator. This

 type of interrogation occurred several times in the approximately six weeks

 he was in SDF custody prior to the FBI being made aware of his presence.

      Mr. Musaibli was able to make the FBI aware that he was in SDF

 custody by having another prisoner who was being interrogated by the

 United States government deliver a message. Once the FBI was aware of his

 presence he was briefly interviewed and “biometrically enrolled.” He was

 then transferred to another facility. After a stay of perhaps two weeks, the

 FBI took custody of Mr. Musaibli. Because of the conditions at this prison,

 Mr. Musaibli had not slept well for days and entered FBI custody already

 suffering the effects of exhaustion and sleep deprivation.

      When the FBI took custody of Mr. Musaibli, their first act was to

 replace the handcuffs and blindfold placed on him by his SDF captors, and


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 similarly restrain him including fitting him with “blackout” googles so he

 could not see. This occurred on July 23, 2018, at 10:20 EET (the local Syrian

 time zone).1 He was transferred by van to an airfield, airlifted to an airbase

 in Kuwait, then transferred to a larger plane for his trip to the United. States.

 That plane departed for the United States at 5:20 a.m. EET on July 24, 2020

 (local time). At some point prior to departure, Mr. Musaibli also was fitted

 with noise cancelling ear coverings.

       The blackout googles and ear coverings were not removed until 6:00

 a.m. EET, when SA Kerner began her interrogation of Mr. Musaibli. Prior to

 this time, Mr. Musaibli had only slept briefly during his first flight out of

 Syria. His only sleep was two short periods, one of approximately twenty

 minutes and one of just under one hour, while under restraints. He was not

 offered food until after an hour of interrogation, after 7:00 a.m. EET. The

 interrogation continued in several segments as agents broke to confer and

 then restarted the interrogation. Near the end of one of these segments at

 8:10 p.m. EET, SA Kerner had Mr. Musaibli sign a waiver of presentment to

 a magistrate judge.




 1     The FBI log provides time in Eastern Standard Time. These times have
 been converted to local time in Syria to more accurately reflect the effect of
 the transportation and sleep lag on Mr. Musaibli.
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       Mr. Musaibli landed in Gary, Indiana, approximately 23 hours after

 being taken into custody by the FBI. In addition to the approximately 1 hour

 and 20 minutes he slept during his first flight from Syria to Kuwait, Mr.

 Musaibli’s only other sleep occurred during two brief periods after his

 interrogation in flight to the United States, the first for not more than 1 hour

 and 30 minutes, and the second for not more than 2 hours. Upon his arrival

 in Gary, Indiana, conducted another follow up interview before transporting

 him by land to Detroit.

                                     Argument

       The Inherently Coercive Environment in which the
       Defendant was Interviewed Made It Impossible for Him
       to Knowingly and Voluntarily Waive His Miranda and
       Rule 5 Presentment Rights. Those Same Conditions
       Rendered His Statements Involuntary to the FBI While
       in Their Custody.


       A. Mr. Musaibli’s Miranda waiver was not knowing and
          voluntary.

       In order to introduce a defendant’s custodial statement at trial, the

 prosecution must prove that defendant voluntarily, knowingly, and

 intelligently waived his Miranda rights. Miranda v. Arizona, 384 U.S. 436,

 475 (1966).    The Government must prove, by a preponderance of the

 evidence, that any waiver was an uncoerced choice and that the defendant

 understood the rights being waived and the consequences of the waiver.
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 Moran v. Burbine, 475 U.S. 412 (1986). Courts are to consider the totality of

 the circumstances in determining whether the waiver was knowing and

 voluntary.

       The FBI’s interrogation of Mr. Musaibli and the obtaining of his

 Miranda waiver was inherently coercive.        The obtaining of the waiver

 occurred after weeks in the custody of the SDF, weeks where he was kept in

 extremely difficult conditions of imprisonment, and on the heels of hours in

 sensory deprivation gear while deprived of sleep and food, and additionally

 with no experience in the criminal justice system and fearful of what would

 happen next. Because of his prior extrajudicial detention at the hands of U.S.

 allies and his prior coerced statements to SA Kerner over instant messaging

 applications, he could not appreciate the rights he was waiving or the

 deleterious consequences of the waiver. Mr. Musaibli’s waiver of his rights

 was not knowing and voluntary within the meaning of Fifth Amendment

 jurisprudence.

       B. Mr. Musaibli’s statements to the FBI while under their
          custody were not voluntary.

       The burden is on the government to prove by a preponderance of the

 evidence that a defendant’s statement is voluntary. Lego v. Twomey, 404

 U.S. 477, 487-89 (1972). When deciding whether a statement is involuntary,


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 courts must consider the totality of circumstances. See Schneckloth v.

 Bustamonte, 412 U.S. 218, 226 (1973). No one factor is dispositive; courts

 must evaluate all facts together to determine if “a defendant’s will was

 overborne.” Id. In the Sixth Circuit, courts should examine the record to see

 (1) if “the police activity was objectively coercive”; (2) if the coercion . . . was

 sufficient to overbear the defendant’s will”; and (3) if the police misconduct

 was “the crucial motivating factor in the defendant’s decision to offer the

 statement.” United States v. Mahan, 190 F.3d 416, 422 (6th Cir. 1999)

 (citing McCall v. Dutton, 863 F.2d 454, 459 (6th Cir. 1988)).

       The use of physical violence to extract a confession is an obvious

 violation that renders a confession involuntary, Brown v. Mississippi, 297

 U.S. 278 (1936), as are credible threats of physical violence. Arizona v.

 Fulminante, 499 U.S. 279, 287 (1991). Conditions of confinement can also

 render a confession involuntary. The Supreme Court has found that

 incommunicado detention for days, during which a defendant is cut off from

 family and friends, renders a confession involuntary. Reck v. Pate, 367 U.S.

 433, 441-42 (1961); Turner v. Commonwealth, 338 U.S. 62 (1949). The

 coercive conduct need not originate from the United States government.

 Where there is not a “clean break” between the conduct of foreign actors and

 an interrogation by United States government officials, the coercive activity


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 of the foreign actors can taint any statements to U.S. interrogators. United

 States v. Karake, 443 F.Supp. 2d 8, 87-89 (D.D.C. 2010).

       Mr. Musaibli was held incommunicado from his family and even the

 FBI for a month by the SDF in squalid conditions. During that time, he faced

 threats of sexual assault and torture, was hit and spit upon, and was unsure

 if he would ever be released. When the FBI finally learned of his presence

 and came to take custody of him, they did nothing to calm his fears. After

 days without sleep, he was transported for hours in sensory deprivation gear

 on military aircraft. He was under constant guard by multiple agents. He

 was confronted with his earlier statements, which the FBI had induced by

 threatening to leave him in Syria to be captured or killed. See Defendant’s

 Motion to Suppress Statements Made During His Interrogation Over Remote

 Messaging Applications and Custodial Statements Tainted by the

 Involuntary Statements Made During This Interrogation (to be docketed).

       An evidentiary hearing will reveal conditions in Syria and during

 transit to the United States were so inherently coercive as to overbear the will

 of Ibraheem Musaibli and render his statements involuntary in violation of

 the Fifth Amendment.

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       C. Mr. Musaibli’s statements in Gary, Indiana should be
          suppressed under the McNabb-Mallory rule.

       This Court should suppress any and all statements made by Mr.

 Musaibli upon arrival within the U.S. territory under 18 U.S.C. § 3501(c) and

 the McNabb-Mallory rule because of the delay in presentment before a

 magistrate judge.   See McNabb v. United States, 318 U.S. 332 (1943);

 Mallory v. United States, 354 U.S. 449 (1957).

       “[P]rompt presentment” is required of a law enforcement officer to

 take an arrested person before a magistrate judge “as soon as he reasonably

 could.” Corley v. United States, 556 U.S. 303, 306 (2009). Originally a

 common law rule, this requirement was codified into Federal Rule of

 Criminal Procedure 5(a). Corley, 556 U.S. at 307-08. The Supreme Court’s

 McNabb-Mallory rule provides that “an arrested person’s confession is

 inadmissible if given after an unreasonable delay in bringing him before a

 judge.” Corley, 556 U.S. at 306.

       Section 3501(c) provides a six-hour “safe harbor” in which a delay of

 six hours or more between arrest and presentment is unreasonable and not

 admissible.    18 U.S.C. § 3501(c).       If a “confession occurred before

 presentment and beyond six hours, however, the court must decide whether

 delaying that long was unreasonable or unnecessary under the McNabb-


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 Mallory cases, and if it was, the confession is to be suppressed. Corley, 445

 U.S. at 322.

       Towards the end of Mr. Musaibli’s coercive reinterrogation by the FBI,

 he signed the government’s waiver of prompt appearance before a magistrate

 judge. His waiver occurred at 1:10 p.m. EST (8:10 p.m. EET) on July 24,

 2018, almost 23 hours after he was taken into custody by U.S. government

 agents and 14 hours after the first interrogation began by SA Kerner and

 other agents. All of this occurred after Mr. Musaibli suffered from lack of

 substantive sleep free of restraints, multiple interrogations, and while he was

 often subject to sensory deprivation. His waiver was not volitional or a

 product of his free will and was coerced by the same unconstitutional

 government actions that rendered his Miranda waiver invalid and his

 statements involuntary. He signed this waiver at the end of the serial

 interrogation on the flight from Kuwait to the United States and right before

 the government continued his sensory deprivation by putting the blackout

 goggles and ear coverings back onto him. Mr. Musaibli landed in Gary,

 Indiana, soon thereafter.

       Mr. Musaibli arrived to Gary and was immediately reinterrogated that

 early afternoon at the Gary International Airport. The agents sought more

 incriminating statements from Mr. Musaibli, and while they reminded him


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 that he had Miranda rights, he was still not under any condition to resist the

 coercive nature of the government’s conduct. Mr. Musaibli’s waiver was not

 voluntarily entered within “an essentially free and unconstrained choice” –

 his “will ha[d] been overborne and his capacity for self-determination

 critically impaired.” Culombe v. Connecticut, 367 U.S. 568 (1961) (omitting

 citation). A Miranda rewarning at that point does not abrogate and cure the

 coercive nature of the multiple interrogations and its effect on his Rule 5(a)

 presentment waiver. This is particularly true when, as the Supreme Court

 has stated, any “delay must not be of as a nature to give opportunity for the

 extraction of a confession.” Mallory, 354 U.S. at 455; see also Corley, 556

 U.S. at 308 (“delay for the purpose of interrogation is the epitome of

 ‘unnecessary delay’”); County of Riverside v. McLaughlin, 500 U.S. 44, 61

 (1991) (Scalia, J., dissenting) (“the only element bearing upon the

 reasonableness of delay was not such circumstances as the pressing need to

 conduct further investigation, but the arresting officer’s ability, once the

 prisoner had been secured, to reach a magistrate.”).

       Here, the FBI agents should have taken Mr. Musaibli that early

 afternoon to the nearest federal courthouse. That courthouse was nine miles

 away at the U.S. District Court of Northern District of Indiana and had

 several magistrate judges presiding to present Mr. Musaibli. Instead, as


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 described previously, the government continued its interrogation of Mr.

 Musaibli almost sixteen hours after it began its first interrogation and

 twenty-six hours after it took him into federal custody. The waiver and delay

 in presenting Mr. Musaibli before a magistrate judge was not valid. Thus,

 Mr. Musaibli’s statements upon arrival to the U.S. should be suppressed and

 barred from use at trial.

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                                   Conclusion

       Ibraheem Musaibli requests an evidentiary hearing so that the Court

 may make factual findings regarding the conditions of his confinement by

 the SDF, the conditions during his transport from Syria to the United States,

 and the circumstances underlying his waiver or presentment to the nearest

 federal magistrate upon arrival in Gary, Indiana. This Court should enter an

 order excluding from evidence Mr. Musaibli’s custodial statements to the FBI

 for violations of the Fifth Amendment’s voluntariness requirement and for

 violation of Rule 5 of the Federal Rules of Criminal Procedure.

                                        Submitted,

                                        s/James R. Gerometta
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  Dated: December 31, 2020



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                           Certificate of Service

      I certify that on December 31, 2020, I filed

    • Motion to Suppress Statements Made During Custodial
      Interrogation

 through the court’s docketing system, which should send notification to
 opposing counsel of record.

                                     /s/ Fabián Rentería Franco
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